 

Case 1:19-mj-OlO42-KB|\/| Document 1 Filed 04/20/19 Page 1 of 7

AO 91 (Rev. ll/l l) Cn`minal Complaint

UNITED STATES DISTRICT COURT -

for the

District of New Mexico

United Statcs of America
v.

LARRY M|TCHELL HOPK|NS

 

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Defendan!(.§')

CRIMINAL COMPLAINT

l, the complainant in this casc, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October to November 28, 2017. in the county of Sal'l JUEF\ in the

 

State and District of New Mexico , the defendant(s) violated:

Code Section Oj}"ense Descriplion
\holation of Felon in Possession of a Firearm and Ammunition.

1a u.s.c:. § 922(9)(1)

This criminal complaint is based on these facts:

See Attached AfEdavit.

il Continued on the attached sheet. M§ §\ %M
§ ~

Comp!a:`nam ’.s' signature

David Gabrie|, Speciai Agent, FB|

 

Swom to before me and signed in my presence

Date: Z:Q A~F zo[j
Judge signature

City and state: (_@3 C(u'(_,£%_ w i\r\ G'Lq lr~{ t E. 009 f`M>&p\ l)»; I“W\`t:`{?d¢“
' d l Prinred name and title " _§_
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fN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNI`TED sTATEs oF AMERJCA, )
Plaintiff, §

vs. § CASE NUMBER Q M l )OA_Q/
LARRY MITCHELL HOPKINS, §
Defendant. §

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
FOR THE ARREST OF LARRY MITCHELL HOPKINS

___-____________
I, David S. Gabriel, a Special Agent with the Federal Bureau of Investigation (FBI), being
duly sworn, depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. l make this affidavit in support of a criminal complaint authorizing the arrest of
Larry Mitchell Hopkins (hereinafter referred to as “Hopkins”).

2. I have been employed as a Special Agent of the FBl since May of 2018. I am
classified, trained, and employed as a federal law enforcement officer with statutory arrest
authority charged with conducting criminal investigations of alleged violations of federal
criminal statutes, including Title 18 of the United States Code. I am currently assigned as an
investigator for the Albuquerque Field Office, Las Cruces Resident Agency, New Mexico. In this
capacity, I routinely investigate violations of federal criminal statutes, to include violations of
federal firearms laws.

3. As a result of my training and experience, I arn familiar with and have

investigated federal firearms laws, including 18 U.S.C. § 922(g)(l), which makes it unlawful for

 

 

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any person who has been convicted in any court cfa crime punishable by imprisonment for a
term exceeding one year to ship or transport in interstate commerce or possess in or affecting
commerce any firearm or ammunition or to receive any firearm or ammunition which has been
shipped or transported in interstate or foreign commerce

4. I have reviewed reports, documents, and other materials collected or generated in
connection with, and conferred with law enforcement agents involved in, the investigation of
Hopkins, and I believe the following to be true and accurate.

5. This affidavit is intended to show only that there is sufficient probable cause for
the requested warrant and does not set forth all of my knowledge about this matter.

PROBABLE CAUSE

6. In October 2017, the FBI Public Access Line (PAL) received reports of alleged
militia extremist activity in FIora Vista, New Mexico. Inforrnation was conveyed relating to a
group that called itself the United Constitutional Patriots, located at Lakeside Ranch rl_`railer Park
in Flora Vista, NM. The United Constitutional Patriots was led by their so-called “commander,”
Larry Hopkins, who also went by the alias of Johnny Horton, Jr. Information also was
conveyed that the group had its “base” at Hopkins’s residence, was supported by approximately
20 members, and was armed with AK-47 rifles and other firearms. Witnesses reported seeing
members of the United Constitutional Patriots bearing firearms at Hopkins’s residence.
Hopkins also allegedly made the statement that the United Constitutional Patriots were training
to assassinate George Soros, Hillary Clinton, and Barack Obama, because of these individuals’
support of Antifa.

7. On November 28, 2017, FBI SAs Kalon Fancher and Monty Waldron arrived at

County Road 3547 #15 which was known to be the residence of Larry Mitchell Hopkins. Upon

 

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arrival Agents made contact with Fay Sanders Murphy (hereinalter referred to as Murphy).
Murphy and Hopkins invited the SAs inside of their residence. Hopkins walked SA Fancher
and SA Waldron through the kitchen and down a hallway into a room that Hopkins referred to as
“my office.” When SA Fancher and SA Waldron entered the "offlce", they immediately
observed approximately 10 firearms leaning against the wall in a closet in plain view due to the
closet not having any doors. SA Fancher eventually asked Hopkins if he was the owner of the
firearms observed in the closet. He stated that all of the firearms in the house were owned by
Murphy who was his “common law wife.” SA Fancher asked Hopkins if there were any other
firearms in the house. Hopkins stated there was a shotgun and a handgun in the bedroom as
well as another handgun in the kitchen. Hopkins and Murphy both said they were the only two
people who lived at #15 County Road 3547 Flora Vista, NM.

8. Hopkins and Murphy were presented with a FD-26 Consent to Search form. SA
Fancher read the form to Hopkins and Murphy explaining that their consent to search their
residence is voluntary and they could refuse consent. Both Hopkins and Murphy signed the FD-
26 form giving SAs Fancher and Waldron voluntary consent to search their residence.

9. When Agents began to search the residence SA Fancher retrieved a recording
device and began recording Agent's interactions with Hopkins. When Agents started the search
of the residence SA Fancher asked Hopkins if he could show Agents the location of the firearms
in the house. He stated “I will show them to you, the shotgun is loaded so I will let you unload
it.” He walked SA Fancher to the kitchen and brought a black tactical vest to the attention of
Agents and stated “that's my black right there and it is |oaded.” The SAs recovered a loaded
Jimenez Arrns .9mm Model J.A. Nine bearing serial number 079708 from a holster attached to

the tactical vest. Hopkins then walked the SAs to the master bedroom and directed SA Fancher

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to a loaded Blackhawk 12 gauge shotgun leaning in the corner on the east Wall and stated “it is

legal, actually that shotgun was given to my wife from one of my men.” He then directed

Agents to a loaded Taurus PT 22 bearing serial number Yl 19882 with one magazine which was

laying on an end table in the northwest comer of the same bedroom room.

10.

Pursuant to the execution of said search, the following firearms and ammunition

were collected as evidence: -

8..

b.

II.

Jimenez Anns .9mm Model J.A. Nine bearing serial number 079708
Black hawk 12 gauge shotgun unknown serial number

Taurus P'I` 22 bearing serial number Yl 19882 with one magazine
Savage Model 98 .308 caliber unknown serial number

Arrni Jager Model AP80 AK22 Serial number 017742

Hiawatha Model 189R .22 caliber long rifle unknown serial number
Remington Model 597 bearing serial number D2901269

Marlin Model 60 .22 caliber long rifle bearing serial #223093
Stevens Savage Model 870 .22 caliber long rifle serial number.

Various caliber ammunition, including shotgun shells, also were observed at

Hopkins’s residence.

12.

Subsequent to the search of Hopkins’s residence, I received court records

confirming that Hopkins has at least one prior felony conviction:

8.

By plea of guilty on November 15, 1996, in People of the State of]l/Iichigan v.
Larry Mitchell Hopkins, File No. 96-27928-FH, Circuit Court for the County of
Monroe, Hopkins was convicted of the crime of possession of a loaded firearm

and, on December 10, 1996, was sentenced to imprisonment in the State Prison of

 

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Southern Michigan for a period of sixteen (16) months minimum to two (2) years
maximum'. l

13. Subsequent to the search of Hopkins’s residence, I received an NCIC printout
confirming that Hopkins had been convicted of two additional felonies:

a. On December 15, 2006, in Docket Number 0602795CR, in the Klamath County
Circuit Court, State of Oregon, Hopkins was convicted of felony possession of a
weapon-firearm and sentenced to forty (40) days injail and thirty-six (36)
months’ probation.

b. On December 15, 2006, in Docket Number 0602795CR, in the Klamath County
Circuit Court, State of Oregon, Hopkins was convicted of criminal impersonation
of a peace officer and sentenced to twenty (20) days injail and twenty-four (24)
months’ probation.

14. Subsequent to search of Hopkins’s residence, l contacted the ATF and determined
that none of the firearms recovered were manufactured in New Mexico and thereby by being
recovered in New Mexico, had moved in or affected interstate commerce

15. Based on the foregoing, there is probable cause to believe that Larry Mitchell
Hopkins did violate 18 U.S.C. § 922(g)(l), possession of a firearm by a person previously

convicted of a crime punishable by a term of imprisonment exceeding one year.

Respectfully Subrnittej

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DAVID GABRIEL
Special Agent
Federal Bureau of Investigation

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Subscribed and sworn to before me
on ' 20, 2019:

  

 

 

 

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